      Case 1:16-cv-01122-VEC Document 147 Filed 01/11/21 Page 1 of 24




                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

MICHELLE MARINO, DEBORAH                   CASE NO.:
ESPARZA, MONICA RAEL, and CERA             1:16-cv-01122-VEC (OTW) (Lead)
HINKEY, on behalf of themselves and all
others similarly situated,                 Consolidated Member Case Nos.:
                                           1:16-cv-03773-VEC (OTW)
              Plaintiffs,                  1:16-cv-03677-VEC (OTW)
                                           1:16-cv-05320-VEC (OTW)
      v.

COACH, INC.

              Defendant.


MEMORANDUM OF LAW IN SUPPORT OF APPLICATION FOR ATTORNEY FEES,
              EXPENSES, AND INCENTIVE AWARDS
           Case 1:16-cv-01122-VEC Document 147 Filed 01/11/21 Page 2 of 24




                                                   TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1

I.       Class Counsel Vigorously Prosecuted Plaintiffs’ and the Class’s Claims........................... 1

II.      The Settlement Provides Significant Benefits to the Settlement Class................................ 3

ARGUMENT .................................................................................................................................. 4

I.       Class Counsel’s Request for Attorneys’ Fees and Costs Is Reasonable and
         Should Be Approved. .......................................................................................................... 4

          A.         Legal Standard ........................................................................................................ 4

          B.         The Percentage of the Fund Method Should Be Applied Here. ............................. 5

          C.         The Goldberg Factors Support the Reasonableness of Counsel’s Requested Fee.. 6

                     1.         Class Counsel’s Time and Labor ................................................................ 6

                     2.         The Litigation’s Magnitude and Complexity.............................................. 7

                     3.         The Risks of Litigation ............................................................................... 8

                     4.         Quality of Representation ........................................................................... 9

                     5.         The Fee Is Reasonable in Relation to the Settlement ............................... 10

                     6.         Public Policy Consideration ...................................................................... 11

II.      The Lodestar Cross-Check Further Supports an Award to Class Counsel of One-Third of
         the Settlement Fund .......................................................................................................... 12

III.     The Expenses Incurred Are Reasonable and Necessarily Incurred to Achieve the
         Benefit Obtained on Behalf of the Class........................................................................... 14

IV.      The Requested Service Awards for Class Representatives Are Reasonable and Should
         Be Approved. .................................................................................................................... 15

CONCLUSION ............................................................................................................................. 17




                                                                     ii
           Case 1:16-cv-01122-VEC Document 147 Filed 01/11/21 Page 3 of 24




                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)
Cases

Bellifemine v. Sanofi-Aventis U.S. LLC, No. 07-cv-2207 (JGK),
  2010 WL 31193374 (S.D.N.Y. Aug. 6, 2010) .......................................................................... 15

Board of Trs. Of AFTRA Ret. Fund v. JPMorgan Chase Bank, N.A.,
  No. 09 Civ. 686 (SAS), 2012 WL 2064907 (S.D.N.Y. June 7, 2012) ........................................ 5

Boeing Co. v. Van Gemert,
  444 U.S. 472 (1980) .................................................................................................................... 4

Capsolas v. Pasta Res., Inc.,
  No. 10-cv-5595 (RLE), 2012 WL 4760910 (S.D.N.Y. Oct. 5, 2012) ...................................... 10

City of Providence v. Aeropostale, Inc.,
  No. 11 Civ. 7132 (CM), 2014 WL 1883494 (S.D.N.Y. May 9, 2014) ................................... 7, 8

Cohan v. Columbia Sussex Mgmt., LLC,
  CV 12-3203, 2018 WL 48613913 (E.D.N.Y. Sept. 28, 2018 ................................................. 7, 9

Fleisher v. Phoenix Life Ins. Co.,
  Nos. 11-cv-8405, 2014 WL 108478814 (S.D.N.Y. Sept. 9, 2015) ............................................. 5

Fleisher Phoenix Life Ins. Co.,
  2015 WL 10847814 (S.D.N.Y. Sept. 9, 2015) ...................................................................... 8, 11

Frank v. Eastman Kodak Co.,
  228 F.R.D. 174 (W.D.N.Y. 2005)............................................................................................. 16

Gilliam v. Addicts Rehab. Center. Fund,
  No. 05 Civ. 3452 (RLE), 2008 WL 782596 (S.D.N.Y. Mar. 24, 2008) ................................... 10

Goldberger v. Integrated Res., Inc.,
  209 F.3d 43 (2d Cir. 2000)................................................................................................. passim

Grice v. Pepsi Beverages Co.,
  363 F. Supp. 3d 401 (S.D.N.Y. 2019)....................................................................................... 12

Guevoura Fund Ltd. v. Sillerman,
  No. 1:15-cv-07192-CM, 2019 WL 6889901 (S.D.N.Y. Dec. 18, 2019) .................................. 15

Guippone v. BH S&B Holdings LLC,
  No. 09 Civ. 01029, 2016 WL 5811888 (S.D.N.Y. Sept. 23, 2016) .................................... 16, 17



                                                                    iii
           Case 1:16-cv-01122-VEC Document 147 Filed 01/11/21 Page 4 of 24




Henry v. Little Mint, Inc.,
  No. 12 Civ. 3996, 2014 WL 2199427 (S.D.N.Y. May 23, 2014) ............................................. 17

Hicks v. Morgan Stanley,
  No. 01 Civ. 10071 (RJH), 2005 WL 2757792 (S.D.N.Y. Oct. 24, 2005)................................. 11

In re AOL Time Warner ERISA Litig.,
   No. 02-cv-8853, 2007 WL 3145111 (S.D.N.Y. Oct. 26, 2007) ................................................ 15

In re Bear Stearns Cos. Sec. Derivative & ERISA Litig.,
   909 F. Supp. 2d 259 (S.D.N.Y. 2012)....................................................................................... 14

In re Colgate-Palmolive Co. ERISA Litig.,
   36 F. Supp. 3d 344 (S.D.N.Y. 2014)........................................................................................... 5

In re EVCI Career Colleges. Holding Corp. Secs. Litig.,
   Nos. 05 Civ. 10240 (CM), 2007 WL 2230177 n.6 (S.D.N.Y. July 27, 2007) .................... 12, 13

In re Global Crossing Sec. & ERISA Litig.,
   225 F.R.D. 436 (S.D.N.Y. 2004) .......................................................................................... 9, 15

In re Hi-Crush Partners Secs. Litig., 12-Civ-8557 (CM),
   2014 WL 7323417 (S.D.N.Y. Dec. 19, 2014) .......................................................................... 13

In re Marsh ERISA Litig.,
   265 F.R.D. 128 (S.D.N.Y. 2010) .......................................................................................... 5, 10

In re Merrill Lynch Tyco Res. Sec. Litig.,
   249 F.R.D. 124 (S.D.N.Y. 2008) .............................................................................................. 14

In re Online DVD-Rental Antitrust Litig.,
   779 F.3d 934 (9th Cir. 2015) .................................................................................................... 10

In re Platinum & Palladium Commodities Litig.,
   No. 10cv3617, 2015 WL 4560206 (S.D.N.Y. July 7, 2015) .................................................... 13

In re Sumitomo Copper Litig.,
   189 F.R.D. 274 (S.D.N.Y. 1999) ................................................................................................ 7

In re Telik, Inc. Secs. Litig.,
   576 F. Supp. 2d 570 .................................................................................................................... 5

In re Veeco Instruments Inc. Secs. Litig.,
   No. 05 MDL 01695, 2007 WL 4115808 (S.D.N.Y. Nov. 7, 2007) .......................................... 13




                                                                     iv
           Case 1:16-cv-01122-VEC Document 147 Filed 01/11/21 Page 5 of 24




In re: General Motors LLC Ignition Switch Litig.,
   No. 12-MD02543 (JMF), 2020 WL 7481292 (S.D.N.Y. Dec. 18, 2020)................................. 16

LeBlanc-Sternberg v. Fletcher,
  143 F.3d 748 (2d Cir. 1998)...................................................................................................... 14

Luciano v. Olsen Corp.,
  109 F.3d 111 (2d Cir. 1997)...................................................................................................... 13

Maley v. Del Global Tech. Corp.,
 186 F. Supp. 2d 358 (S.D.N.Y. 2002)......................................................................................... 5

Missouri v. Jenkins by Agyei,
  491 U.S. 274 (1989) .................................................................................................................. 13

Mohney v. Shelly’s Prime Steak, Stone Crab & Oyster Bar,
 No. 06 Civ. 4270 (PAC), 2009 WL 5851465 (S.D.N.Y. Mar. 31, 2009) ....................... 5, 10, 11

Ravina v. Columbia Univ.,
  No. 16-cv-2137, 2020 WL 1080780 (S.D.N.Y. March 6, 2020) ........................................ 13, 14

Reibstein v. Rite Aid Corp.,
  761 F. Supp. 2d 241 (E.D. Pa. 2011) ........................................................................................ 10

Reichman v. Bonsignore, Brignati & Mazzotta P.C.,
  818 F.2d 278 (2d Cir. 1987)...................................................................................................... 14

Rodriguez v. It’s Just Lunch Int’l,
  No. 07-cv-09227, 2020 WL 1030983 (S.D.N.Y. Mar. 2, 2020) ............................................... 16

Rudman v. CHC Grp. Ltd., 15-cv-3773 (LAK),
  2018 WL 3594828 (S.D.N.Y. July 24, 2018) ........................................................................... 13

Scott v. City of New York,
  643 F.3d 567 (2d Cir. 2011 ......................................................................................................... 6

Sewell v. Bovis Lend Lease, Inc.,
  No. 09 Civ. 6548 (RLE), 2012 WL 1320124 (S.D.N.Y. Apr. 16, 2012) .................................. 10

Strougo ex rel Brazilian Equity Fund, Inc. v. Bassini,
   258 F. Supp. 2d 254 (S.D.N.Y. 2003)....................................................................................... 11

Velez v. Novartis Pharm. Corp,
  No. 04 Civ. 09194, 2010 WL 4877852 (S.D.N.Y. Nov. 30, 2010) ............................................ 5




                                                                    v
           Case 1:16-cv-01122-VEC Document 147 Filed 01/11/21 Page 6 of 24




Wal-Mart Stores, Inc. v. Visa U.S.A., Inc.,
 396 F.3d 96 (2d Cir. 2005).......................................................................................................... 4

Woburn Ret. Sys. v. Salix Pharm., Ltd.,
 No. 14-cv-8925 (KMW), 2017 WL 3579892 (S.D.N.Y. Aug. 18, 2017) ................................. 13

Zeltser v. Merrill Lynch & Co. Inc.,
  No. 13 Civ. 1531 (FM), 2014 WL 4816134 (S.D.N.Y. Sept. 23, 2014)................................... 10




                                                                  vi
            Case 1:16-cv-01122-VEC Document 147 Filed 01/11/21 Page 7 of 24




                                               INTRODUCTION

           Plaintiffs, by and through Court-appointed Settlement Class Counsel David Cialkowski of

Zimmerman Reed LLP, Todd Carpenter of Carlson Lynch LLP, Jeff Ostrow of Kopelowitz

Ostrow, P.A., Andrea Gold of Tycko & Zavareei LLP, and Charles Moore of Halunen Law

(“Settlement Class Counsel”)1, respectfully move the Court to: (1) award attorneys’ fees and

reimbursement of expenses in the amount of $1,175,000.00; and (2) award Plaintiffs Marino,

Esparza, Rael, and Hinkey service Awards of $2,000.00 each, totaling $8,000.00. These awards

are reasonable under all applicable standards.

           The standard for evaluating a request for attorneys’ fees and expenses is reasonableness.

In evaluating the reasonableness of an attorneys’ fee request, courts in the Second Circuit employ

the percentage of the fund method with a lodestar-multiplier cross check. Under this analytical

framework, Class Counsel’s request for attorneys’ fees and reimbursement of expenses is fair,

reasonable, and supported by precedent from this Circuit. Counsel seek only 25% of the Settlement

Fund, representing a fraction of their actual lodestar, and below the 30% commonly awarded in

this district.

I.         Class Counsel Vigorously Prosecuted Plaintiffs’ and the Class’s Claims

           On October 13, 2016, Plaintiffs Michele Marino, Deborah Esparza, Monica Rael, and Cera

Hinkey filed a consolidated class action complaint on behalf of themselves and similarly situated

consumers based on Coach’s purported deceptive pricing of merchandise sold in Coach-branded

outlets. (Dkt. 37). On November 22, 2016, Coach filed a motion to dismiss. (Dkt. 40). On August

28, 2017, the Court granted Coach’s motion to dismiss Plaintiffs’ claim for injunctive relief with

prejudice after finding that Plaintiffs did not allege any actual or imminent risk of future harm. The



1
    All capitalized terms used herein have the same meanings as those used in the Settlement Agreement.


                                                          1
        Case 1:16-cv-01122-VEC Document 147 Filed 01/11/21 Page 8 of 24




Court also dismissed Plaintiffs’ claims for common law fraud, unjust enrichment, breach of

express warranty, and violations of the New Hampshire Consumer Protection Act, without

prejudice. Shortly thereafter, Plaintiffs filed the First Amended Consolidated Class Action

Complaint on September 19, 2017. (Dkt. 70).

       Plaintiffs’ First Amended Complaint alleges that Coach misrepresented regular or original

prices on certain products in an attempt to create an illusion of extreme “savings.” Id. Plaintiffs

further alleged that they were injured under New York and New Hampshire law because Coach’s

use of the phrase “Manufacturer’s Suggest Retail Price” to describe the price of its outlet products

created a false impression that its outlet goods were once sold at its retail stores and were of the

same quality and workmanship as Coach’s retail store products. On October 23, 2017, Coach filed

a second motion to dismiss, which the Court denied in part and granted in part. (Dkt. 74). The

Court granted Coach’s motion to dismiss Plaintiffs’ claim for breach of express warranty but

denied Coach’s motion to dismiss Plaintiffs’ consumer protection claims, common law fraud

claims, and unjust enrichment claims. (Dkt. 83).

       Following that motion practice, the parties engaged in informal discovery which involved

extensive information and documents on Coach’s sales, pricing, and profit-and-loss information.

After exchanging information, the parties agreed to mediate claims before the Honorable

Magistrate Judge Wang. Prior to mediation, the parties prepared confidential submissions to the

Court. On December 18, 2018, the parties attended a full-day-in-person mediation and were unable

to reach a settlement but agreed to engage in arms-length settlement discussion. After ten months

of negotiations, the parties reached a settlement agreement.




                                                 2
        Case 1:16-cv-01122-VEC Document 147 Filed 01/11/21 Page 9 of 24




II.    The Settlement Provides Significant Benefits to the Settlement Class

       On July 20, 2020, Class Counsel and Coach executed the final Settlement Agreement in

whereby Coach agreed to pay $4,661,000.00. (Joint Decl. ¶¶3, 18). Under the Settlement

Agreement, Settlement Class Members can either elect a cash award or a voucher award. Id.; (Dkt.

No. 94-3.) Under the cash award, Coach must pay up to $500,000 in cash for payments to the

Settlement Class Members who select to receive a cash. Joint Decl. ¶18. The Settlement Fund is

non-revisionary, and therefore, if any amounts remain in the Settlement Fund, the cash and

Voucher amount due to each valid Claimant shall be proportionally increased on a pro rata basis.

Should there be remaining funds due to any issued checks not being cashed, the parties will jointly

propose a cy pres recipient to the Court and will move the Court to have any remaining cash paid

to the cy pres recipient. Joint Decl. ¶4. As for the voucher award, Coach agreed to provide vouchers

valued at $3,840,000.00 to Settlement Class Members who elect to receive vouchers. Joint Decl.

¶18. Additionally, under the Settlement Agreement, Class Counsel may request that the Court

award attorneys’ fees and expenses not to exceed $1,175,000 and service awards in the amount of

$2,000 for each named Plaintiff. Joint Decl, ¶¶29, 30. COACH has agreed to pay these amounts

over and above the Settlement Fund. (Dkt. No. 94-3.)

       In addition to significant monetary relief, the Settlement provides valuable non-monetary

relief for consumers. (Joint Decl. ¶¶3, 19). Coach has agreed to implement certain injunctive relief

and prospective relief to ensure that its pricing practices conform with state and federal laws

regarding price comparison advertising. Id. Specifically, Coach will train its outlet employees to

facilitate compliance with state and federal laws at a minimum of one time per year for three years.

Id. The Settlement represents a significant recovery for the Settlement Class.




                                                 3
       Case 1:16-cv-01122-VEC Document 147 Filed 01/11/21 Page 10 of 24




                                            ARGUMENT

I.     Class Counsel’s Request for Attorneys’ Fees and Costs Is Reasonable and Should Be
       Approved.

       A.      Legal Standard

       Class Counsel requests a reasonable fee based on the results obtained for the Settlement

Class and the length and complexity of this litigation. The propriety of awarding attorneys’ fees

based on a percentage of the common fund is well established. See Boeing Co. v. Van Gemert, 444

U.S. 472, 478 (1980) (“a litigant or a lawyer who recovers a common fund for the benefit of

persons other than himself or his client is entitled to a reasonable attorney’s fee from the fund as a

whole”); Goldberger v. Integrated Res., Inc., 209 F.3d 43, 47 (2d Cir. 2000) (“the attorneys whose

efforts created the [common] fund are entitled to a reasonable fee—set by the court —to be taken

from the fund”).

       In the Second Circuit, either the lodestar or percentage of the recovery methods may be

used to calculate fees in common fund cases. Id. at 50. However, “[t]he trend in this Circuit is

toward the percentage method, which directly aligns the interests of the class and its counsel and

provides a powerful incentive for the efficient prosecution and early resolution of litigation.” Wal-

Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 121 (2d Cir. 2005). Here, Class Counsel seeks

to recover about 25% of the common fund in fees and expenses. This recovery falls well within

the range of reasonable fees approved by courts in this Circuit in complex Rule 23 cases such as

this. Under Second Circuit precedent, the Court could approve the requested fee as reasonable with

no further inquiry. The Court should consider the Goldberger factors as well as conduct a lodestar

“cross-check” to determine the reasonableness of the requested fee award. Wal-Mart Stores, Inc.,

396 F.3d at 121-23. Under any applicable standard, Class Counsel’s proposed fee is reasonable.




                                                  4
        Case 1:16-cv-01122-VEC Document 147 Filed 01/11/21 Page 11 of 24




        B.      The Percentage of the Fund Method Should Be Applied Here.

        Class Counsel respectfully submits that the Court should award a fee based on a percentage

of the common fund obtained. Courts in the Second Circuit have recently favored the percentage

of the fund method, since the “lodestar method proved vexing” and results in “inevitable waste of

judicial resources. Id. at 48-50; Fleisher v. Phoenix Life Ins. Co., Nos. 11-cv-8405, 2014 WL

108478814, at *14 (S.D.N.Y. Sept. 9, 2015) (“[T]he percentage method continues to be the trend

of district courts in this Circuit and has been adopted in the vast majority of circuits.”) (alternation

in the original).

        Here, Class Counsel’s requested attorneys’ fees, which amounts to about 25% of the fund,

is fair and reasonable under the percentage method. Indeed, “[d]istrict courts in the Second Circuit

routinely award attorneys’ fees in class cases that are 30 percent or greater.” Velez v. Novartis

Pharm. Corp, No. 04 Civ. 09194, 2010 WL 4877852, at *21 (S.D.N.Y. Nov. 30, 2010); In re

Marsh ERISA Litig., 265 F.R.D. 128, 149 (S.D.N.Y. 2010) (noting trend of awarding 20-50 percent

of the fund in class actions); Mohney v. Shelly’s Prime Steak, Stone Crab & Oyster Bar, No. 06

Civ. 4270 (PAC), 2009 WL 5851465, at *5 (S.D.N.Y. Mar. 31, 2009) (collecting cases awarding

over 30% and noting that “Class Counsel’s request for 33% of the Settlement Fund is typical in

class action settlements in the Second Circuit.”); Maley v. Del Global Tech. Corp., 186 F. Supp.

2d 358, 370-71 (S.D.N.Y. 2002) (awarding 33.333% as fair and reasonable); In re Colgate-

Palmolive Co. ERISA Litig., 36 F. Supp. 3d 344, 353 (S.D.N.Y. 2014) (finding that a 25% is

reasonable); Board of Trs. Of AFTRA Ret. Fund v. JPMorgan Chase Bank, N.A., No. 09 Civ. 686

(SAS), 2012 WL 2064907, at *7 (S.D.N.Y. June 7, 2012) (finding that a fee of 25% is reasonable);

In re Telik, Inc. Secs. Litig., 576 F. Supp. 2d 570, at 587 (awarding a 25% fee and collecting cases

awarding fees of 30 percent or higher). Given that Class Counsel is requesting 25% of the




                                                   5
        Case 1:16-cv-01122-VEC Document 147 Filed 01/11/21 Page 12 of 24




Settlement Fund, instead of the routinely awarded 30 percent, this Court should find the requested

fee as reasonable.

       C.      The Goldberg Factors Support the Reasonableness of Counsel’s Requested
               Fee.

       In evaluating the reasonableness of Class Counsel’s requested fee award, the Second

Circuit has directed courts to consider six factors: (1) the time and labor expended by counsel; (2)

the magnitude and complexities of the litigation; (3) the risk of the litigation; (4) the quality of the

representation; (5) the requested fee in relation to the Settlement; and (6) public policy

considerations. Goldberger, 209 F.3d at 50. All of these considerations weigh in favor of allowing

Class Counsel to recover their requested fee in this case.

               1.      Class Counsel’s Time and Labor

       Class Counsel have litigated this case since 2016, and the time they dedicated to this

litigation supports their requested fee. Class Counsel and additional counsel who have contributed

to the case have submitted declarations showing that they dedicated over 2,900 hours to this case.

See Carpenter Decl. ¶5; Cialkowski Decl. ¶9; Gold Decl. ¶11; Moore Decl. ¶10; Ostrow Decl. ¶10;

LaDuca Decl. ¶6. Lambert Decl. ¶5 .These hours were documented contemporaneously, and

detailed, task-based itemized statements for each firm are available upon request for the Court’s

in camera review. See Scott v. City of New York, 643 F.3d 56, 57 (2d Cir. 2011) (requiring

contemporaneous time records). These hours reflect the time and labor that Class Counsel devoted

to this case without any guarantee of recovery. Counsel spent time investigating cases, drafting

the initial complaints and the consolidated class action complaint, defending against Coach’s

motions to dismiss, amending the consolidated class action complaint, reviewing the information

and documents produced by Coach, engaging in informal discovery and numerous meet and

confers, preparing for and participating in a full-day mediation, followed by more than ten months



                                                   6
        Case 1:16-cv-01122-VEC Document 147 Filed 01/11/21 Page 13 of 24




of negotiations with counsel for Coach, drafting the Settlement Agreement, developing the notice

plan with Angeion, and preparing preliminary approval motion papers. Moreover, Class Counsel

will incur additional, uncompensated time briefing the final approval motion and finalizing and

administering the Settlement. See Cohan v. Columbia Sussex Mgmt., LLC, CV 12-3203, 2018 WL

4861391, at *3 (E.D.N.Y. Sept. 28, 2018) (noting the requested fees were meant to compensate

counsel for time spent administering the settlement in the future). Also, since Class Counsel’s

cumulative lodestar exceeds the percentage of the fund requested, the fee request is reasonable in

relation to the time and effort that Counsel expended in the course of this litigation.

                2.      The Litigation’s Magnitude and Complexity

        The second Goldberger factor, which addresses “the magnitude and complexities of the

litigation,” also supports approval of the requested fee. Goldberger, 209 F.3d at 50. “[C]lass action

suits in general have a well-deserved reputation as being most complex.” In re Sumitomo Copper

Litig., 189 F.R.D. 274, 281 (S.D.N.Y. 1999). This case was no exception. For example, Class

Counsel was required to evaluate various state consumer protections laws in an attempt to establish

Coach’s deceptive and misleading price scheme on behalf of a nationwide class, California class,

and alternatively a multistate class. Class Counsel also had to defend against two motions to

dismiss. (Dkt. Nos. 40, 74), and review extensive information and documents produced by Coach

relating to its sales, pricing, and profit-and-loss information. If the litigation had not settled, Class

Counsel would have likely faced staunch opposition to class certification as well as issues

establishing liability, causation, and damages.

        Furthermore, to build Plaintiffs’ case, Class Counsel would have to work extensively with

an expert to analyze documents produced by Coach concerning its sales and pricing practices and

its effect on consumers. See City of Providence v. Aeropostale, Inc., No. 11 Civ. 7132 (CM), 2014

WL 1883494, at *16 (S.D.N.Y. May 9, 2014) (finding the second Goldberger factor to favor


                                                   7
        Case 1:16-cv-01122-VEC Document 147 Filed 01/11/21 Page 14 of 24




settlement where cases involved “difficult, complex, hotly-disputed and expert-intensive issues”);

Fleisher, 2015 WL 10847814, at *20 (S.D.N.Y. Sept. 9, 2015) (awarding one-third fees, in part,

due to the complexity of issues that required expert analysis). The magnitude and complexities of

this case therefore weigh in favor of approving Class Counsel’s requested award.

                3.      The Risks of Litigation

        The risks of litigation here were substantial and should weigh in favor of the reasonableness

of the requested award. Settlement Class Counsel has investigated and prosecuted this case for

almost five years and has taken on the risk that they would not ultimately recover for their time

and effort. Although counsel believe Plaintiffs have a compelling case, Coach has denied, and

continues to deny that its practices violate the laws at issues in the suit and has asserted numerous

defenses to Plaintiffs’ claims. In similar deceptive pricing cases across the country, defendants

have argued that the comparative discount pricing language contained on the price tags at issue

would not lead a reasonable consumer to believe that the product at issue was previously sold at a

higher price. Therefore, defendants are not in violations of the state consumer protection statutes

for making an unlawful price comparison. The issue of whether consumers would be deceived by

Coach’s use of “MSRP” labeling on its outlet products presents a significant obstacle for Plaintiffs

to overcome in order to move forward with the prosecution of their case. Even if Plaintiffs were

to succeed in proving consumer deception based on Coach’s labeling practices, there is the

possibility that the Court would not certify a nationwide class. There is also the risk that even if

Plaintiffs were able to get the class certified, they risk a jury finding against them as to the liability

and damages sought. Furthermore, the fact that it took a full day of in person mediation followed

by six months of negotiations by the parties to arrive at a resolution demonstrates that this case not

easily resolvable and that success was not guaranteed.




                                                    8
        Case 1:16-cv-01122-VEC Document 147 Filed 01/11/21 Page 15 of 24




               4.      Quality of Representation

       In determining the quality of representation, courts may rely on their own observations and

review the backgrounds of the lawyers involved in the lawsuit. Cohan, 2018 WL 4861391, at *4.

Here, Class Counsel have demonstrated that they are qualified and experienced advocates and have

been able to vigorously conduct this litigation on behalf of the Settlement Class. Todd Carpenter

of Carlson Lynch LLP, David Cialkowski of Zimmerman Reed LLP, Andrea Gold of Tycko &

Zavareei LLP, Charles Moore of Halunen Law, Jeff Ostrow of Kopelowitz Ostrow, P.A., and

Charles LaDuca of Cuneo Gilbert & LaDuca, LLP, all have extensive and particular experience

handling complex civil litigation and class action litigation and have served as Class Counsel in

similar cases. Carpenter Decl. ¶¶10-14; Cialkowski Decl. ¶3; Gold Decl. ¶¶6-9; Moore Decl. ¶¶6-

9; Ostrow Decl. ¶¶6-9; LaDuca Decl. ¶5. Lambert Decl. ¶3.These declarations put forth by Class

Counsel also demonstrate that they are highly regarded in their local legal communities and across

the country for their work in class action litigation.

       Additionally, the quality of the legal representation “is best measured by results,” obtained

on behalf of the Settlement Class. Goldberger, 209 F.3d at 55. In this case, Class Counsel

efficiently applied their skills and experience to obtain relief for the Settlement Class. Each class

member who submits a valid and timely claim will receive either a cash award or a voucher to be

redeemed for merchandise. The vouchers account for the majority of the Settlement Fund,

amounting to $3,840,000, are the equivalent of cash inside Coach outlet stores, and are to be issued

relatively quickly upon the effective date. In re Global Crossing Sec. & ERISA Litig., 225 F.R.D.

436, 467 (S.D.N.Y. 2004) (“an indication of the quality of the result achieved is the fact that the

settlement will provide compensation to the [victims] expeditiously.”). The vouchers are not

discount coupons and do not require Class Members to “pay to play.” Rather, Coach’s General

Manager for its outlet stores attested to the fact that stores will have “at least 50 skus of


                                                   9
        Case 1:16-cv-01122-VEC Document 147 Filed 01/11/21 Page 16 of 24




Merchandise available for purchase at final price (including sales tax, if applicable) of $20.00 or

less prior to applying the Vouchers.” [Decl. Of Leigh Manheim, Oct. 7, 2019.]; see In re Online

DVD-Rental Antitrust Litig., 779 F.3d 934, 950-51 (9th Cir. 2015) (finding $12 gift cards to class

members is not a “coupon settlement” where class members can choose from a large of items to

purchase without spending their own money); Reibstein v. Rite Aid Corp., 761 F. Supp. 2d 241,

255-56 (E.D. Pa. 2011) (holding that $20 store gift cards which can be used to purchase thousands

of products are more like cash than coupons). The results achieved, coupled with Class Counsel’s

extensive experience in class action litigation demonstrate that the Settlement Class received

excellent quality of representation over the course of four years.

                5.      The Fee Is Reasonable in Relation to the Settlement

        Class Counsel’s request for fees and expenses amounts to 25% of the Settlement Fund

which Coach has agreed to pay in addition to the Settlement. The request is thus “fair and

reasonable in relation to the recovery and compares favorably to fee awards in other risky common

fund cases in this Circuit and elsewhere.” In re Marsh ERISA Litig., 265 F.R.D. at 149. Indeed,

courts in the Southern District have frequently held that awarding fees in excess of 33% of the

common fund is reasonable and in line with class action fee awards in this circuit. See, e.g., Gilliam

v. Addicts Rehab. Center. Fund, No. 05 Civ. 3452 (RLE), 2008 WL 782596, at *5 (S.D.N.Y. Mar.

24, 2008) (holding that Class Counsel’s request for one-third of the fund is reasonable and

“consistent with the norms of class litigation in this circuit.”) (citations omitted); Capsolas v. Pasta

Res., Inc., No. 10-cv-5595 (RLE), 2012 WL 4760910 at *8 (S.D.N.Y. Oct. 5, 2012) (granting

motion for one-third of the settlement fund); Zeltser v. Merrill Lynch & Co. Inc., No. 13 Civ. 1531

(FM), 2014 WL 4816134, at *1, 8 (S.D.N.Y. Sept. 23, 2014) (awarding one-third of $6.9 million

settlement fund); Sewell v. Bovis Lend Lease, Inc., No. 09 Civ. 6548 (RLE), 2012 WL 1320124,

at *10-11 (S.D.N.Y. Apr. 16, 2012) (awarding one-third of $2.35 million settlement); Mohney,


                                                  10
       Case 1:16-cv-01122-VEC Document 147 Filed 01/11/21 Page 17 of 24




2009 WL 5851465, at *4-5 (S.D.N.Y Mar. 31, 2009) (awarding 33% of the settlement fund);

Strougo ex rel Brazilian Equity Fund, Inc. v. Bassini, 258 F. Supp. 2d 254, 262 (S.D.N.Y. 2003)

(“a fee of 33 1/3% of the settlement fund is reasonable”) (collecting cases). Furthermore, because

Coach has agreed to pay the fees separately, the Settlement Class does not have to pay for counsel’s

requested fees out of the fund itself. Given that Class Counsel’s proposed fee of 25% of the

settlement is considerably less than fees regularly awarded in similar common fund cases, the

factor weighs in favor of granting the requested fees.

               6.      Public Policy Consideration

       The requested fee furthers the public policy goal of “providing lawyers with sufficient

incentive to bring common fund cases that serve the public interest.” Goldberger, 209 F.3d at 51.

The public policy interest is well served by this litigation, which sought to hold Coach accountable

for its use of the phrase “Manufacturer’s Suggested Retail Price” to describe the price of its outlet

products, which allegedly creates the false impression that its outlet store merchandise was of the

same quality and workmanship as merchandise sold at Coach’s retail stores and allegedly

portrayed an illusory discount, driving sales. A necessary component of encouraging attorneys to

undertake the risk of bringing actions, such as this, is adequate compensation. See Fleisher, 2015

WL 10847814, at *2 (“Public policy considerations strongly favor incentivizing skilled private

attorneys to undertake this type of litigation, especially since the action is on behalf of small

claimants who lack the financial incentive to obtain a recovery on their own behalf.”); Hicks v.

Morgan Stanley, No. 01 Civ. 10071 (RJH), 2005 WL 2757792, at *9 (S.D.N.Y. Oct. 24, 2005)

(“To make certain that the public is represented by talented and experienced trial counsel, the

remuneration should be both faith and rewarding.”).

       Accordingly, the percentage of the fund would compensate Class Counsel for the benefits

the settlement has conferred on the public, the substantial investment of time and money they


                                                 11
        Case 1:16-cv-01122-VEC Document 147 Filed 01/11/21 Page 18 of 24




devoted to litigating this case and securing the settlement, as well as the risks Class Counsel

undertook in prosecuting the litigation, including the contingent nature of their representation.

II.     The Lodestar Cross-Check Further Supports an Award to Class Counsel of One-
        Third of the Settlement Fund

        The Second Circuit has recognized the value, in some cases, of conducting a lodestar cross-

check when assessing the reasonableness of a percentage fee award. Goldberger, 209 F.3d at 50.

When the lodestar method is used as a “cross-check,” the district court need not exhaustively

scrutinize counsel’s hours. Id. In employing the lodestar cross-check, courts multiply the hours

reasonably expended on the case by an appropriate hourly rate. Id. at 47; Grice v. Pepsi Beverages

Co., 363 F. Supp. 3d 401, 406 (S.D.N.Y. 2019) (employing a cross-check and noting the “Second

Circuit encourages the practice of requiring documentation of hours as a cross check on the

reasonableness of the requested percentage”) (alteration in original). The time and labor spent by

Class Counsel supports the requested fee. Class Counsel have been diligently pursuing this

litigation since 2016 and have spent thousands of hours developing Plaintiffs’ case against Coach.

During this time, Class Counsel lawyers and their professional staff have devoted over 2,900 hours

of service generating $1,476,867.25 in fees for the zealous prosecution of this case. Cialkowski

Decl. ¶23. The hours spent by Class Counsel in this litigation were calculated from daily time

records consistently and contemporaneously maintained by Class Counsel lawyers and

professional staff throughout the entirety of this litigation. Cialkowski Decl. ¶ 21. Furthermore, all

time spent on this litigation was necessary and duplication was rigorously avoided to the extent

practicable. Id.

        In conducting a lodestar analysis, the appropriate hourly rates to use are those rates that are

“normally charged in the community where the counsel practices, i.e., the market rate.” In re EVCI

Career Colleges. Holding Corp. Secs. Litig., Nos. 05 Civ. 10240 (CM), 2007 WL 2230177, at *17



                                                  12
       Case 1:16-cv-01122-VEC Document 147 Filed 01/11/21 Page 19 of 24




n.6 (S.D.N.Y. July 27, 2007); Luciano v. Olsen Corp., 109 F.3d 111, 115 (2d Cir. 1997) (noting

that the lodestar figure should be “in line with those [rates] prevailing in the community for similar

services by lawyers of reasonably comparable skill, experience and reputation”) (alteration in

original). The rates charged here by Class Counsel fall within the range of prevailing rates in this

District. See, e.g. Woburn Ret. Sys. v. Salix Pharm., Ltd., No. 14-cv-8925 (KMW), 2017 WL

3579892, at *5 (S.D.N.Y. Aug. 18, 2017) (approving hourly rates up to $995 for partners); In re

Hi-Crush Partners Secs. Litig., 12-Civ-8557 (CM), 2014 WL 7323417, at *14 (S.D.N.Y. Dec. 19,

2014) (approving billing rates ranging from $425 to $825 per hour for attorneys); Rudman v. CHC

Grp. Ltd., 15-cv-3773 (LAK), 2018 WL 3594828, at *3 (S.D.N.Y. July 24, 2018) (finding hourly

rates ranging from $210 to $985 to be appropriate class counsel); In re Platinum & Palladium

Commodities Litig., No. 10cv3617, 2015 WL 4560206, at *3-4 (S.D.N.Y. July 7, 2015) (approving

hourly rates ranging from $250 to $950). Moreover, Class Counsel’s rates are not only similar to

rates approved in this District but have been approved in numerous other cases in various forums

and are thus reasonable for this case. Cialkowski Decl. ¶6.

       Next, the lodestar was calculated by multiplying Class Counsel’s hours by their current

hourly rates. The use of current hourly rates has been approved by the Supreme Court and courts

in this Circuit to calculate the base lodestar figure as a means of compensating for the delay in

receiving payment, inflation, and the loss of interest. See Missouri v. Jenkins by Agyei, 491 U.S.

274, 284 (1989); In re Veeco Instruments Inc. Secs. Litig., No. 05 MDL 01695, 2007 WL 4115808,

at *9 (S.D.N.Y. Nov. 7, 2007) (using current rates to calculate the lodestar as a means of

“accounting for the delay in payment inherent in class actions and for inflation”); In re Hi-Crush

Partners, 2014 WL 7323417, at *15 (S.D.N.Y. Dec. 19, 2014) (using current rates to calculate the

lodestar figure); Ravina v. Columbia Univ., No. 16-cv-2137, 2020 WL 1080780, at *7 (S.D.N.Y.




                                                 13
       Case 1:16-cv-01122-VEC Document 147 Filed 01/11/21 Page 20 of 24




March 6, 2020) (rejecting defendant’s argument that it would be improper to calculate the lodestar

using current hourly rates).

       Finally, Class Counsel has devoted over 2,900 hours of attorney and professional staff

support time to this litigation. Based on these hours, Class Counsel’s lodestar is $1,603,003.50.

Cialkowski Decl. ¶23. Therefore, the 25% fee request represents a negative “multiplier” of 0.71

on the lodestar value of the time that Class Counsel dedicated to this litigation. Cialkowski Decl.

¶21. See, e.g., In re Bear Stearns Cos. Sec. Derivative & ERISA Litig., 909 F. Supp. 2d 259, 271

(S.D.N.Y. 2012) (approving requested fee with a negative multiplier and noting that the negative

multiplier was a “strong indication of the reasonableness of the proposed fee”).

       In sum, Class Counsel’s requested fee award is reasonably justified and within the range

of what courts in this Circuit regularly award in class actions such as this one, whether calculated

as a percentage of the fund or as a cross-check on Counsel’s lodestar.

III.   The Expenses Incurred Are Reasonable and Necessarily Incurred to Achieve the
       Benefit Obtained on Behalf of the Class.

       Class Counsel also respectfully requests that the Court award reimbursement of $28,219.74

in expenses that were incurred in connection with the prosecution and negotiation of this action.

Cialkowski Decl., at ¶23. It is well-established in this District that Class Counsel are entitled to

the reimbursement of expenses incurred “that are incidental and necessary to the representation.”

Reichman v. Bonsignore, Brignati & Mazzotta P.C., 818 F.2d 278, 283 (2d Cir. 1987). Expenses

are incidental and necessary reimbursable if they are of the type normally billed by attorneys to

paying clients. LeBlanc-Sternberg v. Fletcher, 143 F.3d 748, 763 (2d Cir. 1998). Standard

reimbursable expenses include “computer research fees, copying costs, postage, court fees, travel

expenses, and professional fees paid to counsel’s damage expert and accountant.” In re Merrill

Lynch Tyco Res. Sec. Litig., 249 F.R.D. 124, 144 (S.D.N.Y. 2008). Other categories of fees



                                                14
       Case 1:16-cv-01122-VEC Document 147 Filed 01/11/21 Page 21 of 24




routinely reimbursed include, “investigative and expert witnesses, filing fees, service of process,

travel, legal research and document production and review.” In re Global Crossing, 225 F.R.D. at

468; Guevoura Fund Ltd. v. Sillerman, No. 1:15-cv-07192-CM, 2019 WL 6889901, at *22

(S.D.N.Y. Dec. 18, 2019) (awarding counsel reimbursement for expenses spent on investigation,

photocopying of documents, messenger services, postage express mail, discovery, and other

incidental expenses directly related to the case).

       Class Counsel seek reimbursement for similar expenses. Class Counsel incurred reasonable

expenses during the course of the litigation which include expenses related to legal research fees,

filing fees, photocopying of documents, postage, and travel expenses among others detailed in the

declarations submitted in support herewith. See Cialkowski Decl. ¶¶13, 23. All of these costs were

necessary and reasonably incurred to bring this case to a successful conclusion and because counsel

had no guarantee that these expenses would ever be reimbursed, Class Counsel had the incentive

to keep them reasonable. See Cialkowski Decl. ¶¶11, 14. As such, Class Counsel’s requested

reimbursement of expenses should be approved.

IV.    The Requested Service Awards for Class Representatives Are Reasonable and Should
       Be Approved.

       Class Counsel request approval of service awards of $2,000 to Plaintiffs Marino, Esparza,

Rael, and Hinkey in recognition of the services they rendered on behalf of the Settlement Class.

Service awards are “not uncommon in class action cases and are within the discretion of the court.”

In re AOL Time Warner ERISA Litig., No. 02-cv-8853, 2007 WL 3145111, at *2 (S.D.N.Y. Oct.

26, 2007); Bellifemine v. Sanofi-Aventis U.S. LLC, No. 07-cv-2207 (JGK), 2010 WL 31193374, at

*7 (S.D.N.Y. Aug. 6, 2010) (courts within this Circuit “have, with some frequency, held that a

successful class action plaintiff, may, in addition to his or her allocable share of the ultimate

recovery, apply for and, in the discretion of the Court, receive an additional award termed an



                                                 15
       Case 1:16-cv-01122-VEC Document 147 Filed 01/11/21 Page 22 of 24




incentive award.” (internal quotation marks omitted)). In determining whether to approve service

awards, courts often consider the personal risk incurred by the named plaintiff as well as the time

and effort expended in assisting the prosecution of the litigation. Frank v. Eastman Kodak Co.,

228 F.R.D. 174, 187 (W.D.N.Y. 2005).

       In this case, Plaintiffs participated and willingly took on the responsibility of prosecuting

the case and publicly lending their names to this lawsuit. They were instrumental to the initiation

and prosecution of this action, and they expended considerable time and effort to assist Class

Counsel with the case. For example, Plaintiffs informed counsel of the predicate facts, they

provided counsel with relevant documents in their possession, and continuously advocated for the

benefit of the Settlement Class. Plaintiff Marino and her husband attended the mediation before

Magistrate Judge Wang in person, and the other Plaintiffs made themselves available all day to

participate in settlement discussions and communications with their counsel. Thus, Plaintiffs have

performed a valuable service to the Settlement Class and should be awarded $2,000 each in

recognition of their work. See Frank, 228 F.R.D. at 187-88 (class representatives play an important

role as the “primary source of information concerning the claims” including responding to

counsel’s questions and reviewing documents).

       Finally, the amount requested—$2,000 for each named Plaintiff a total of $8,000—is

warranted and is consistent with other class action service awards in this District in recent years.

See Rodriguez v. It’s Just Lunch Int’l, No. 07-cv-09227, 2020 WL 1030983, at *12 (S.D.N.Y. Mar.

2, 2020) (finding service awards of $12,000 are reasonable for the 5 named plaintiffs); In re:

General Motors LLC Ignition Switch Litig., No. 12-MD02543 (JMF), 2020 WL 7481292, at *4

(S.D.N.Y. Dec. 18, 2020) (finding that $2,000 awards to certain class representatives are

reasonable and in line with awards in this Circuit); Guippone v. BH S&B Holdings LLC, No. 09




                                                16
        Case 1:16-cv-01122-VEC Document 147 Filed 01/11/21 Page 23 of 24




Civ. 01029, 2016 WL 5811888 (S.D.N.Y. Sept. 23, 2016) (approving $2,000 service award to the

class representative for his service to the class); Henry v. Little Mint, Inc., No. 12 Civ. 3996, 2014

WL 2199427, at *4 (S.D.N.Y. May 23, 2014) (finding that the requested service award of $10,000

to named plaintiff was modest). Since the achievements for the Settlement Class and the

consistency of this request with service awards in other class action cases in this Circuit, the Court

should find that the requested service awards are appropriate. Accordingly, Class Counsel requests

that the Court approve service awards in the amount of $2,000 to each Plaintiffs Marino, Esparza,

Rael, and Hinkey.

                                           CONCLUSION

        For the above reasons, Class Counsel respectfully request the Court grant their motion for

an award of attorneys’ fees, reimbursement of expenses, and payment of service awards to

Plaintiffs.



Dated: January 11, 2021                        Respectfully submitted,

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                                                 17
      Case 1:16-cv-01122-VEC Document 147 Filed 01/11/21 Page 24 of 24




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                                            18
